     Northwest Debt Relief Law Firm
1    1312 Main St
     Vancouver, WA 98660
2    Tel: (503) 232-5303
3                  Attorney for Debtor.
4

5                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF OREGON
6

7                                                     )    Case No. 14-35776-dwh13
     In re:                                           )
8             Paul Richard Meade                      )    EX PARTE
              Barbara Rae Meade (deceased),           )    MOTION TO WAIVE DISCHARGE
9                                                     )    REQUIREMENTS
                               Debtors.               )
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               The debtor, Paul Meade, by and through counsel, hereby moves this Court for an Order
     Waiving the Domestic Support Certificate requirements for the joint debtor in the chapter 13
12
     bankruptcy case.
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               Joint Debtor died on November 3, 2019 and is therefore unable to sign a Domestic Support
14
     Certificate. The Notice of Death was filed on December 2, 2019 in the instant case as Docket
15   Number 35.
16             WHEREFORE, Debtor respectfully requests this Court to enter an Order Waiving the
17   Discharge Requirements of the Domestic Support Obligation Certificate for the Joint Debtor.

18   DATED: 12/3/19

19                                                          Respectfully submitted:
20                                                          /s/Tom McAvity #00175
                                                            Attorney for Debtor
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25   MOTION TO WAIVE REQUIREMENTS                                  Northwest Debt Relief Law Firm
                                                                   Tom McAvity, OSB #00175
                                                                    1312 Main St
                                                                    Vancouver, WA 98660
                                                                    Phone : (503)232-5303


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                                  CERTIFICATE OF SERVICE
1
             The undersigned certifies that ta copy of the foregoing MOTION TO WAIVE
2
     REQUIREMENTS was served upon the following addresses by sending a true, full and exact copy
3    enclosed in a sealed envelope by regular postage, prepaid, US Mail, or where specified,
     electronically
4
     By ECF:
5
     US Trustee, Portland, OR
6    Wayne Godare, Case Trustee
7    DATED: 12/3/2019
8

9
                                               /s/Thomas McAvity #001751
                                               Attorney for Debtor
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